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                                EXHIBIT A
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                                      No. 24-8030
                  ___________________________________________________

                         UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT
                  ___________________________________________________

                                       NATALIA ORTIZ,
                       on behalf of herself and all others similarly situated,
                                       Plaintiff-Respondent,
                                                 v.
        SABA UNIVERSITY SCHOOL OF MEDICINE, and R3 EDUCATION, INC.,
                                  Defendants-Petitioners.
                 ____________________________________________________

                 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                (The Honorable William G. Young, Case No. 1:23-cv-12002-WGY)
                  ____________________________________________________

                  Reply in Support of Petition to Appeal Class Certification
                      Pursuant to Federal Rule of Civil Procedure 23(f)
                 ____________________________________________________

                                        Daryl J. Lapp (First Cir. Bar No. 31763)
                                        LOCKE LORD LLP
                                        111 Huntington Avenue, Boston, MA 02199
                                        (617) 239-0100
                                        daryl.lapp@lockelord.com

                                        Michael McMorrow (First Cir. Bar No. 1214113)
                                        LOCKE LORD LLP
                                        111 S. Wacker Drive, Chicago, IL 60606
                                        (312) 443-0246
                                        michael.mcmorrow@lockelord.com

                                        Counsel for Defendants-Petitioners
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                                         ARGUMENT

      I.    Plaintiff Misrepresents the Record.

            Plaintiff states that Petitioners “go to great lengths to conceal that their Step

      1 rates only account for roughly half the students who enroll.” Opp. at 2. The entire

      premise of Plaintiff’s argument is misleading. A “first-time” pass rate necessarily

      includes only those students who advanced through the two-year Basic Sciences

      portion of the MD program and sat for the exam.

            As authority for her assertion about “concealment,” Plaintiff cites to Dr.

      Pinsky’s “expert” opinion [Dkt. 83, at 5-6], which says nothing about Saba

      concealing anything, and references no evidence to support such a statement. The

      other item that Plaintiff cites in support is a forward-looking projection [Dkt. 84-

      20], which contains “assumptions by semester” of future enrollment and says

      nothing about the percentage of Saba students who sit for the USMLE Step 1

      exam. Pinsky admitted that his testimony about that rate is based solely on

      “representations made to [him] by Plaintiff’s counsel,” [Dkt. 83, ¶ 21], and cites no

      other evidence for it.

            Plaintiff also falsely claims that the Saba admissions staff was trained to

      “dodge questions from prospective students about attrition,” and that “Defendants

      routinely misled or even outright lied to prospective students.” Pl. Opp. at 3.

      Plaintiff’s citations are not to evidence, but to Plaintiff’s own characterizations. As



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      the record evidence demonstrates, Saba admissions staff did not dodge questions

      about attrition—there is no generally accepted definition or calculation for

      attrition, no regulatory requirement to publish an attrition rate, and Saba has not

      adopted or maintained an official calculation for attrition. Further, Plaintiff has

      presented no record evidence that any of the statements cited in the brief are false

      or misleading, [Dkt. 82, at 3, fn. 12-13], and there is nothing cited to suggest they

      are.

      II.    Plaintiff Misrepresents the Standard for Interlocutory Review Under
             Rule 23(f), Which Saba Has Satisfied.

             Plaintiff’s focus on Saba’s alleged failure to demonstrate “irresistible

      pressure to settle” under Waste Mgt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 293

      (1st Cir. 2000), is misplaced in two respects.

             First, Plaintiff argues that a $16 million class judgment might not be

      “ruinous” to Saba because the record “reveals” that R3 owns other for-profit

      medical schools.1 But Plaintiff is asking for all tuition and fees from all

      unsuccessful students (even those who withdrew voluntarily) to be refunded, which

      she claims is half the enrolled students—without taking interest, attorneys’ fees, or

      1
       The financial data that Plaintiff cites is not from Saba, but from Global University
      Systems Holding, BV—a different, foreign entity which is not a party to this case
      and only purchased R3 recently. The other information regarding student loans
      disbursed also encompasses other schools rather than Saba’s financial data.
      Plaintiff also omits important information as to expenses and net revenue. The
      Court should not consider this irrelevant and incomplete data.


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      potential treble damages into account. In fact, Saba’s records show that its annual

      net income during 2020-2023 have been mainly losses, and R3 is a stand-alone

      entity that does not generate material revenue of its own and simply receives

      modest management fees from its subsidiary medical schools for support services

      provided. See Declaration of Terry Moya attached. Additionally, Saba has

      presented multiple grounds demonstrating the “significant weakness” in the

      district’s court ruling, which lacks any rationale, much less the rigorous analysis

      required by Rule 23. Pet. at 7-19.

              Second, while this Court “ordinarily” will grant leave to appeal when a Rule

      23(f) application falls into one of the three categories the Court described in

      Mowbray, the Court emphasized that it can similarly “grant leave to appeal in

      cases that do not match any of the three categories.” Id. at 294. In Mowbray, the

      Court granted leave to appeal under an abuse of discretion standard, holding that a

      district court abuses its discretion when it “relies significantly on an improper

      factor, omits a significant factor, or makes a clear error of judgment in weighing

      the relevant factors.” Id. at 295. Saba’s petition makes just such a showing in this

      case.

      III.    Plaintiff’s Opposition Mischaracterizes the Case Law and Relies on
              Inapplicable Cases.

              Instead of addressing Saba’s argument that the district court abused its

      discretion by failing to conduct a rigorous analysis of the Rule 23 factors and


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      explain how the court properly reached its decision, Plaintiff mischaracterizes and

      relies on inapplicable case law to support her contention that Saba failed to

      demonstrate significant weakness in the district court’s decision.2

                A.     Chapter 93A does not apply to the entire worldwide class.

                Plaintiff attempts to convince this Court to accept cases having nothing to do

      with class actions or contested certification hearings as precedent supporting

      certification of this case. Those cases have no bearing on the propriety of class

      certification here. Some involve settlements where standards are relaxed,3 some

      involve Rule 12(b) decisions where certification was not at issue, and some are

      government enforcement actions, dealing neither with Rule 23 nor with “damages”

      at all.

                Again, Plaintiff leads with falsehood, representing that Saba claimed, “there

      are no cases where a nationwide Chapter 93A class was certified.” Opp. at 16.

      What Saba actually said was “Plaintiff cited no case where a court certified a

      nationwide . . . class on a contested certification motion under a single state’s law.”



      2
         Plaintiff repeatedly refers to the district court’s decision as “properly
      consider[ing]” and “reject[ing]” arguments, which is pure speculation. Opp. at 12.
      The district court did not provide its rationale for its ruling during the class
      certification hearing, or thereafter.
      3
       See Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 620 (1997) (“Confronted with
      a request for settlement-only class certification, a district court need not inquire
      whether the case, if tried, would present intractable management problems[.]”).


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       Pet. at 10. Saba’s actual statement is true.4 The cases Plaintiff cited to the district

       court as authority all involved settlement classes,5 single-state classes, or classes

       proceeding under federal law. See Dkt. 69, Appendix A. The cases Plaintiff cites

       here to support application of Massachusetts law to out-of-state plaintiffs were not

       class certification decisions, either.6

             Plaintiff devotes five pages to Massachusetts’s “functional” approach to

       choice of law without ever mentioning RESTATEMENT (SECOND) CONFLICTS § 148,

       which is the basis of Massachusetts’s choice of law analysis, or mentioning the fact

       that the district court followed that same analysis until this case. Pet., at 11, citing

       In re Relafen Antitrust Litig., 221 F.R.D. 260, 277 (D. Mass. 2004).




       4
        Plaintiff cites to Herbert v. Vantage Travel Serv., Inc., 334 F.R.D. 362, 374 (D.
       Mass. 2019), as authority for her position, Opp. at 16, but she did not cite it below.
       Had she done so, Saba would have correctly noted Hebert never discussed choice
       of law, suggesting it was never raised in that case.
       5
         Plaintiff cites Bezdek v. Vibram USA, 79 F. Supp. 3d 324, 339 (D. Mass. 2015),
       and In re M3 Power Razor, 270 F.R.D. 45, 56 (D. Mass. 2010), as authority for
       certifying a nationwide class under Massachusetts law. Opp. at 16. Both cases were
       settlements.
       6
        Geis v. Nestlé Waters N. Am., Inc., 321 F. Supp. 3d 230, 241 (D. Mass. 2018),
       and Cristostomo v. New Balance Athletics, Inc., 647 F. Supp. 3d 1, 14 (D. Mass.
       2022), both involved rulings on motions to dismiss. No certification motion was
       even filed in either case.


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             B.     Damages are not capable of measurement on a classwide basis
                    and there is no causal connection between the alleged unlawful act
                    and class’s injury.

             Chapter 93A requires a causal connection between the offensive act and the

       injury. Pet. at 15-17. No causal connection was shown for either Plaintiff or the

       class, as discussed below. But both Plaintiff and the district court have confused

       that requirement of a causal connection with the erroneous idea that “reliance” is

       required to state a Chapter 93A claim. Opp. at 12; Dkt. 98, at 12. “Reliance” is not

       required; a “causal connection” is required.

             Plaintiff claims it is “risible” that Saba argued to the district court that she

       put forward no damages theory. Opp. at 17, citing Dkt. 69, at 7. A cursory review

       of her certification motion, however, confirms this. Plaintiff cited a single,

       unpublished enforcement action by the Massachusetts Attorney General in an

       uncontested case against a defunct school as her authority for a full refund of all

       class members’ tuition. Dkt. 69, at 7, 16. This does not meet the standards set in

       the district court’s prior holdings that “the moving party [must] present a damages

       model that directly reflects and is linked to an accepted theory of liability under

       Rule 23(b)(3).” In re Nexium, 297 F.R.D. 168, 183 (D. Mass. 2013), aff’d 777 F.3d

       9; see also Comcast Corp., 569 U.S. 27, 35 (2013) (damages model must be

       consistent with liability case). Plaintiff simply presented no damages model at all

       until her Reply.



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             When Saba pointed out her lack of a damages theory, Plaintiff pivoted on

       Reply, citing a bevy of enforcement actions as authority for her “full refund”

       damages theory. Saba was not allowed to respond to them. Assuming the district

       court accepted those cases, which is unclear, that would be an abuse of discretion.

       The standards Massachusetts sets out in its own laws have nothing to do with the

       standards for certification under Rule 23 or proof of damages in a certified class.

             The cases Plaintiff cites show what was already apparent from the statute

       itself: FTC and attorney general interpretation is to be considered as to section 2(a)

       of Chapter 93A only, which states that “unfair or deceptive acts or practices in the

       conduct of any trade or commerce are hereby declared unlawful.” Courts may look

       to FTC cases as guidance for “what constitutes unfair methods of competition

       under Chapter 93A[.]” Anoush Cab, Inc. v. Uber Techs., Inc., 8 F.4th 1, 16 (1st

       Cir. 2021). Subsections 2(b) and 2(c) note that “in construing paragraph (a) of this

       section…, the courts will be guided by the interpretations given by the [FTC]” and

       the “attorney general may … interpret[] the provisions of subsection 2(a) of this

       chapter.” (Emphasis added.) Section 9 provides relief under Chapter 93A—not

       section 2; and the attorney general operates under section 4. Mass. Gen. Laws §§ 4,

       9. The same is true as to the FTC Act, which Plaintiff’s cases corroborate. FTC and

       attorney general actions provide no guidance on damages in a Rule 23 action.




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             Enforcement actions do not furnish a court with a “damages” model because

       the government does not seek “damages” in enforcement; it seeks fines under its

       authority found in state law or the FTC Act, 15 U.S.C. §45(m)(1)(A-B).7 None of

       these cases contemplate individual assessment of damages, as this case seeks, nor

       do they contemplate whether those damages can be assessed in one proceeding to a

       class of claimants.

             Lastly, Plaintiff claims Omori v. Brandeis Univ., 673 F. Supp. 3d 21 (D.

       Mass 2023), does not apply because that case involved a breach-of-contract, rather

       than a Chapter 93A claim. However, the monetary damages measurement from

       Omori is essentially the same as here.8 Omori specifically addresses issues with

       calculating the value of college education in class certification because of the

       subjective and individualized damages questions involved.


       7
         Although the FTC previously sought restitution under Section 53(a) of the Act,
       the Supreme Court held those attempts unconstitutional in AMG Cap. Mgmt., LLC
       v. F.T.C., 141 S. Ct. 1341 (2021), due to FTC abuses of this process. All the
       authorities Plaintiff’s Opposition cites predate the Supreme Court’s striking of that
       authority. Opp. at 18, fn. 8.
       8
         Massachusetts federal and state courts also have extended a parallel between
       breach of contract and Chapter 93A damages. See KPM Analytics N. Am. Corp. v.
       Blue Sun Sci., LLC, 2024 WL 1558177, at *21 (D. Mass 2024) (noting that
       compensatory damages for breach of contract claim also “constitute[d] [plaintiff’s]
       ‘actual damages’ for purposes of [Chapter] 93A” claim); Haddad v. Gonzalez, 576
       N.E.2d 658, 655-56 (Mass. 1991) (holding that actual damages for Chapter 93A
       claims “consist of all damages foreseeably flowing from an unfair or deceptive act
       or practice,” including compensatory damages “recoverable at common law”).


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             Plaintiff’s argument in her Opposition for a “per se” theory of liability

       requires little comment. It simply rehashes the incorrect argument she made in her

       Reply below, and misinterprets the causal connection required by this Court and

       the Supreme Judicial Council. The district court gave no indication whether it

       accepted that theory, stating cryptically that “it’s a simplistic theory, but it is a

       theory.” Dkt. 98, at 11.

       IV.   The District Court’s Abuse of Discretion in Allowing Plaintiff’s New
             Arguments and Evidence Through Reply Brief is Relevant and Properly
             Raised.

             Plaintiff suggests that this Court should take no issue with the district court’s

       acceptance of the new arguments and evidence in her Reply brief. The new

       arguments and evidence included an entirely new damages theory and testimony

       from a previously undisclosed purported expert witness. Maintaining Saba’s

       objection to this prejudicial conduct is no “last-ditch effort,” as Plaintiff claims.

       This is simply another instance demonstrating the district court’s abuse of

       discretion in certifying the class. The district court accepted Plaintiff’s new

       arguments and evidence without question, and over Saba’s objection, despite her

       violation of the procedural and local rules. It was an abuse of discretion to do so

       without allowing Saba an opportunity to respond. Plaintiff fails to acknowledge

       that she disclosed her expert witness for the first time in her Reply; that alone was




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       sufficient ground for Saba to seek redress from the district court, which it denied in

       abuse of its discretion.

                                         CONCLUSION

             The district court abused its discretion by certifying, without explanation or

       a rigorous analysis of the Rule 23 factors, a Chapter 93A worldwide class. That is

       precisely the sort of imbalance Rule 23(f) is designed to address via interlocutory

       appeal. Accordingly, Saba respectfully requests that this Court grant its Petition

       and vacate the district court’s line order on class certification, and for such other

       and further relief as this Court deems just and appropriate.

                                        Saba University School of Medicine and
                                        R3 Education, Inc.,

                                        Daryl J. Lapp
                                        Daryl J. Lapp (First Cir. Bar No. 31763)
                                        LOCKE LORD LLP
                                        111 Huntington Avenue, Boston, MA 02199
                                        (617) 239-0100
                                        daryl.lapp@lockelord.com

                                        Michael McMorrow (First Cir. Bar No. 1214113)
                                        LOCKE LORD LLP
                                        111 S. Wacker Drive, Chicago, IL 60606
                                        (312) 443-0246
                                        michael.mcmorrow@lockelord.com

                                        Counsel for Defendants-Petitioners


       Dated: November 4, 2024




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                                  Certificate of Compliance

              1.    This document complies with the word limit of Fed. R. App. P.
       32(a)(7), excluding the parts of the document exempted by Fed. R. App. P. 32(f),
       this document contains 2,316 words.

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       Dated: November 4, 2024

                                                               /s/Daryl J. Lapp
                                                               Daryl J. Lapp




       }
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                                     Certificate of Service

             I hereby certify that on this 4th day of November, 2024, a true and correct
       copy of the foregoing was filed electronically with the Clerk’s Office of the United
       States Court of Appeals for the First Circuit and served on all parties, using the
       CM/ECF system.

                                                                 /s/Daryl J. Lapp
                                                                 Daryl J. Lapp




       }
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                            ATTACHMENT
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                                      DECLARATION OF TERRY MOYA

               I, Terry Moya, declare as follows:

              1.        I am the Chief Financial Officer of R3 Education, Inc. (“R3”) and have held the

          same position at all times relevant to the issues in this case.

              2.        R3 owns and provides support services to Saba University School of Medicine B.V.

          (“Saba”).

              3.        The information in this declaration is taken from my own personal knowledge and

          review of R3’s business records.

              4.        Saba annually submits certified public accountant audit reports by BKC, CPAs, PC

          to the United States Department of Education. These reports reflect Saba’s annual net income

          under United States Generally Accepted Accounting Principles (GAAP).

              5.        In the last few years, since 2020, Saba has been experiencing losses in income.

              6.        In 2020, Saba suffered a net loss of $7,758,088. In 2021, Saba’s net income was

          $2,909,737. In 2022, Saba again experienced a net loss of $2,645,699. Finally, in 2023, Saba’s

          net loss was $1,879,169.

              7.        R3 is a U.S. stand-alone entity that does not generate material revenue of its own.

          Rather, it provides support services to its subsidiary medical schools, like Saba, which in turn

          pay a modest management fee for such services.



          Signed under the penalties of perjury this 4th of November, 2024.



                                                              /s/ Terry Moya
                                                              Terry Moya
                                                              Chief Financial Officer
                                                              R3 Education, Inc.



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